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                                                                               ::::::      FllED            ENTERED
                        AFFIDAVIT IN SUPPORT OF APPLICATION                                l03GED_.         RECEIVED
                     FOR A SEARCH WARRANT FOR US MAIL PARCELS
                                                                                           SEP 27 2018
          Your Affiant, Douglas Heneger, United States Postal Inspector, Baltimore, Maryland,
                                                                                             AT BALT/;V;QRE
                                                                                        CLERK.u.s. CISTRICTCOURT
being duly sworn, hereby deposes and states as follows:                          BY      DISTRlcrC;::LANDDEPUTY



I.        Subject Parcels.

          I.       This is an Affidavit submitted in support of an Application for a Search Warrant

for one (I) subject US Mail Parcel, hereinafter "Subject Parcel," or "SP."     The subject parcel is

currently located at the Incoming Mail Facility, in Linthicum Heights, Maryland.           The subject

parcel is specifically identified below:


Subject         Express (E) or Priority (P)   From:                     To:
Parcel          and Tracking ID number        Name and Address          Name and Address


 1.             (P)                           Smalls Electronics        Harold James
                9505513426578219086456        12949 Seneca Ayr Dr.      417 Cold Mountain Trail
                                              Clarksburg, MD 20871      Fort Worth, TX

II.       Affiant's Training and Experience

          2.        Your Affiant, Douglas Henegar, has been a United States Postal Inspector since

April 2012 and has completed 12 weeks of basic investigative training, which included the

investigation of narcotics related offenses. Your Affiant routinely investigates the use of the US

Mail to ship narcotics and narcotics proceeds to and from the Baltimore/Washington        area from the

known narcotic source areas of Florida, Georgia, California, Arizona, Texas and Colorado (among

others). As a result of your Affiant's training and experience, your Affiant is aware that Express

Mail and Priority Mail services are regularly used by narcotics traffickers to ship controlled

substances and bulk cash through the US Mail.
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       3.         Based upon my training and experience in the field of narcotic interdiction through

the mails, I know that there are suspicious characteristics common to many packages that contain

narcotics, controlled substances or the proceeds thereof (i.e. US currency).     These factors, more

fully detailed below, are used to identify packages requiring further investigation.   In the case of

this search warrant, several of these factors were identified, and the package was alerted to by the

drug detection canine. The most common factors or suspicious characteristics routinely observed

in the course of screening packages are as follows:

              a. Contrasts observed between legitimate business parcels and drug parcels: As an

alternative to First Class Mail (which does not provide a customer with the capability to track the

progress of a parcel through the system), the US Postal Service offers Priority Mail Express and

Priority Mail. Priority Mail Express is guaranteed (money back) to be delivered on a set date and

time, usually overnight.     (That deadline is determined at the time of mailing.)     The customer

receives a receipt with this guaranteed information, and the sender can opt for a signature

requirement at the other end or not. Customers can track the parcel on line by its distinct Priority

Mail Express tracking number. The weight of the package and the distance traveled are the two

main factors in setting the price. Priority Mail Express costs more than Priority Mail. Priority

Mail has a delivery service standard of 1-3 business days, but delivery within that time period is

not guaranteed.     Priority Mail is a less expensive alternative to Priority Mail Express, but still

provides the ability to track a parcel. Legitimate businesses using Priority Mail Express typically

have a business or corporate account visible on the mailing label, which covers the cost of the

mailing. In contrast, the drug distributor will pay for the cost of mailing the package at the counter

by using cash or a credit card. Business Priority Mail Express parcels typically weigh no more

than 8 ounces, and business Priority Mail parcels typically weigh no more than 2 pounds.         Drug

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packages typically exceed these weights. Address labels on business parcels are typically typed,

whereas those on drug packages are typically hand written. In your affiant's experience, it is fairly

easy to separate out smaller parcels, which constitute 70% to 80% of all Priority Mail Express and

Priority Mail parcels, from other, heavier parcels.       Typically, drug traffickers use Priority Mail

Express, and will opt out of the requirement of obtaining a signature upon delivery.

               b.      Invalid Sender/Return Address: When drugs are shipped through the

mail, the senders generally do not want them back. To distance themselves from parcels containing

drugs, often the return addresses and the names of senders are fictitious or false. A fictitious or

false address is anything from an incorrect zip code, to a non-existent house number or street. The

name of the sender is also typically invalid in one of several ways. Your affiant has seen packages

sent by persons with names of celebrities, cartoon characters, or fictional names. More often a

search of a law enforcement database reflects that there is no association between the name of the

sender and the address provided.

               c.      Invalid Recipient/Address:       It would be counter-productive to put the wrong

receiving address on a package, but often the named recipient is not actually associated with the

receiving address. This allows the person receiving the package to claim that they did not know

about its contents.    Sometimes drug packages are addressed to vacant properties with the

expectation that the postal carrier will just leave it at the address. The intended recipient will then

retrieve it from that location and hope to remain anonymous.

               d.      Location of Sender: The fact that a package was sent from narcotics source

states such as Arizona, California, Texas, Washington, Colorado, Puerto Rico and Florida (among

others) can also indicate that the parcel contains controlled substances.



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                e.     Smell: The odor of cocaine, marijuana, and methamphetamine are distinct,

and through experience postal inspectors are familiar with these odors. On occasion, a parcel will

emit an odor that is easily recognized without the assistance of a canine. Other smells that suggest

that a parcel may contain narcotics include the aroma of masking agents. Common masking agents

used in an attempt to thwart detection by law enforcement and canines typically include dryer

sheets, coffee, mustard, and any other substance that releases a strong smell.

                f.     Heavy Taping: Heavily taped parcels are another factor that will suggest a

drug parcel, because narcotics parcels are heavily taped in an effort to keep the smell inside and to

forestall easy checking on the interior contents by lifting up a flap. For this reason, your affiant

has also observed excessive glue on the flaps of narcotics parcels as well.

                g.     Click-N-Ship: The US Postal Service created Click-N-Ship as a service for

frequent mailers and businesses who prefer printing address labels and purchasing postage from

their residence or business. Drug traffickers create Click-N-Ship accounts as a means of giving a

legitimate appearance to their drug mailings.     They create the accounts using fictitious account

information and often provide pre-paid credit cards as a means of payment, which are difficult to

track. Drug traffickers often use legitimate business return addresses in states other than California

and Arizona as a means to deter detection, as these other states are not usually considered "source"

states for controlled substances.   The postage labels are printed/typed, unlike the typical drug

related mailing label which is handwritten.

       4.       It is your affiant's experience that when these factors are observed, a drug detection

K-9 will likely "alert," next to the parcel, indicating that the dog has detected the presence of

narcotics. As a result, these factors have become a reliable way to profile the parcels being shipped

every day.

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         5.       The facts contained in this affidavit are based on my personal knowledge as well as

that of the other agents involved in this investigation. All observations that were not made

personally by me were related to me by persons with knowledge.             This affidavit contains that

information necessary to establish probable cause to support an application for a search warrant.

This affidavit is not intended to include each and every fact and matter observed by or made known

to agents ofthe government.

III.     Probable Cause

        6.        The following factors or suspicious characteristics are present in the subject parcel:

 Subject         From           Weight:        Label:         Senders      Recipients    Canine Alert?
 Parcel          Source                                       name         name
 Express or      State:                                       associated   associated
 Priority                                                     with         with
                                                              address?     address?
                                                              Yes/No       Yes/No
  I. Priority     Yes-MD         o lbs 3 ozs      Typed           No           No          Yes - Riggs



        7.        The suspicious characteristics listed above were identified while the subject parcel

was in the mail stream. Therefore, on September 7, 2018, the subject parcel listed above was

removed from the mail stream. At that point, law enforcement used standard protocol for canine

detection to determine whether there was probable cause that the subject parcel contained

narcotics. Specifically, after being removed from the mail stream, the parcel was placed in a secure

area next to several other empty and unused boxes at the Incoming Mail Facility, Linthicum

Heights, Maryland. At that time, a narcotic detecting canine named "Riggs" was brought forward

to scan the group of boxes, which included the individual subject parcel and the empty and unused

boxes placed around the subject parcel. The handler observed the canine and then informed agents

that the K-9 alerted on the subject parcel. The canine handler for "Riggs" is Montgomery County

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Police Detective Scott Carson. "Riggs" was last certified in April 2018 and is trained on the odor

of cocaine, heroin, black tar heroin, marijuana, and MDMA. Additionally, "Riggs" receives

monthly recurrent narcotics odor detecting training. As indicated in the chart, the drug detection

K-9 alerted to the presence of narcotics in the subject parcel.

VI. Conclusion

       8.       Your affiant submits that based upon the above indicators reflected in the subject

parcel described herein, based upon my training and experience, and based upon the alert of a

trained drug detecting K-9 on the package, I believe there is probable cause that the above-

described subject parcel contains narcotics or controlled substances, or the proceeds thereof (i.e.

US currency) and/or materials relating to the distribution of controlled substances through the

United States Mail.

                                               ~~
                                               Douglas Henegar
                                               United States Postal Inspector


       Subscribed and sworn to before me this       /a.   7J:y of September, 2018.



                                                6c-c=.
                                              Ifhe Honorable Beth P. Gesner
                                               United States Magistrate Judge




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                                ATTACHMENT A              18 - 2 513 BPG
             DESCRIPTION OF PARCELS TO BE SEARCHED




1.     (P)                        Smalls Electronics     Harold James
       9505513426578219086456     12949 Seneca Ayr Dr.   417 Cold Mountain Trail
                                  Clarksburg, MD 20871   Fort Worth, TX




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                                                                                   "
